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                       IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS



In Re: Larry Klayman

                                                          Case No.: 3:20-mc-00043-B




                                 NOTICE OF APPEARANCE

       Notice is hereby given that Sanjay Biswas, Esq hereby enters his appearance as attorney

of record for Respondent Larry Klayman in all further proceedings in this matter and request that

all further notices from the Court, copies, and pleadings be sent to him.

 Dated: August 17, 2020                               Respectfully submitted,


                                                      /s/ Sanjay Biswas
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